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BORIS FELDMAN, State Bar No. 128838
boris.feldman@freshfields.com
DORU GAVRIL, State Bar No. 282309
doru.gavril@freshfields.com
DREW LIMING, State Bar No. 305156
drew.liming@freshfields.com
M. ABIGAIL WEST, State Bar No. 324456
abigail.west@freshfields.com
FRESHFIELDS BRUCKHAUS DERINGER US LLP
2710 Sand Hill Road
Menlo Park, CA 94025
Telephone: (650) 618-9250


Attorneys for Nominal Defendant Pinterest, Inc.
and Individual Defendants Benjamin Silbermann,
Jeffrey Jordan, Leslie J. Kilgore, Jeremy S. Levine,
Gokul Rajaram, Frederic G. Reynolds, Evan Sharp,
Michelle Wilson, and Todd Morgenfeld




                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



                                                       Case No.: 3:20-cv-08331-WHA

                                                       DEFENDANTS’ RESPONSE TO ORDER
In re Pinterest Derivative Litigation                  REQUESTING ADDITIONAL
                                                       INFORMATION RE PROPOSED
                                                       SETTLEMENT

                                                       Hearing:    January 27, 2022
                                                       Time:       8:00 a.m.
                                                       Location:   Courtroom 12 - 19th Floor
                                                       Judge:      The Hon. William Alsup




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        Defendants respectfully submit the following additional information in response to the Court’s

Order of January 18, 2022. Dkt. No. 104. These answers apply to each of the governance measures

listed in the proposed settlement.

    1. The extent to which the recommendation(s) proposed in conjunction with settlement

        would reproduce any recommended by the Special Committee.

        From the beginning of settlement discussions, the Parties focused on governance measures

that would be additive to the recommendations of the Special Committee. The Special Committee’s

recommendations informed the Parties’ discussions to the extent necessary to avoid duplication. As a

result, each of the measures proposed in the settlement were negotiated to be additive to the Special

Committee’s recommendations. The Special Committee’s recommendations were made publicly

available at https://newsroom.pinterest.com/en/post/statement-from-the-special-committee-of-

the-board, in December 2020, before the Parties began their settlement discussions in June 2021.

    2. To what extent those [measures] both recommended by the Special Committee and

        proposed in conjunction with settlement have already been implemented.

        After the settlement Stipulation was signed, Pinterest implemented a few initiatives relevant

to the governance measures proposed in the settlement. For example, several governance measures

contemplate the recruitment of a Global Head of Inclusion and Diversity and prescribe various

functions for this role. E.g., Dkt. No. 99-2 at 27 et seq. (Sections II.3, II.8, II.9, V.2, V.3, etc.).

Section V.3 of the proposed governance measures contemplates Pinterest considering factors in a

specified rubric, attached as Appendix A to the proposed governance measures, when recruiting for

this position. Pinterest did so, and, in January 2022, announced Nichole Barnes Marshall as Global

Head of Inclusion and Diversity. See https://newsroom.pinterest.com/en/post/nichole-barnes

-marshall-joins-pinterest-as-global-head-of-inclusion-and-diversity. Delaying implementation of this

measure until after preliminary approval would have potentially risked losing a talented individual.

As another example, the Inclusive Product Program, Dkt. No. 99-2 at 36-37, was negotiated to

expand the resources available to, institutionalize, and scale up an initiative that Pinterest had

recently piloted at the time of the Parties’ discussions. See https://www.glamour.com/story/

annie-ta-is-making-pinterest-a-positive-corner-of-the-internet.

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    3. What financial value has been allotted to the Special Committee’s recommended

        changes over an “up-to-ten-year” period (i.e. comparable to the time period

        contemplated in the stipulation).

        None of the Defendants, nor the Special Committee, has attempted to ascribe a monetary

value to the Special Committee’s work. At all times, the Special Committee and the Board as a

whole have been committed to spending (consistent with their business judgment) such amounts as

are necessary to implement the Special Committee’s recommendations.

        The Parties’ Stipulation similarly does not purport to ascribe a financial value to the

governance measures proposed therein. Rather, the Parties’ Stipulation provides an allocated budget

of “$50 million in funding for the creation, implementation, and annual maintenance of the reforms

noted herein, to be expended over a period no longer than ten years after final approval of the

settlement.” Dkt. No. 99-2 at 32 (Section XIV.2). Such a budget did not exist prior to the Parties’

negotiations. A similar ten-year budget does not exist for implementing the Special Committee’s

recommendations.

    4. Whether the value named in (3) would in any part overlap with the allocation of $50

        million over 10 years proposed in the stipulation or whether the $50 million would be

        spent in addition to the funds earmarked for, allocated to, or already spent on

        implementation of the Special Committee’s recommendations.

        The Parties’ proposed allocation is dedicated to implementation of the governance measures

proposed in the settlement. The proposed allocation is not intended to fund the Special Committee’s

recommendations. Given the complementary nature of the Special Committee’s recommendations

and the governance measures proposed in the settlement, it is likely that monies spent on one will

indirectly benefit the other.

                                          Respectfully submitted,

Dated: January 25, 2022                   FRESHFIELDS BRUCKHAUS DERINGER US LLP

                                           By: /s/ Boris Feldman               .
                                                  Boris Feldman

                                           Attorneys for Defendants

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